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 1
                                UNITED STATES DISTRICT COURT
 2
                              NORTHERN DISTRICT OF CALIFORNIA
 3
                                   SAN FRANCISCO DIVISION
 4

 5   FOOD & WATER WATCH, INC. et al.,           )   Civil Action No. 3:17-cv-02162-EMC
                                                )
 6           Plaintiffs,                        )
                                                )
 7      v.                                      )   STIPULATION AND [PROPOSED] ORDER
                                                )   REGARDING DECEMBER 2, 2022
 8   U.S. ENVIRONMENTAL PROTECTION              )   PROTECTIVE ORDER
     AGENCY et al.,                             )
 9                                              )
             Defendants.                        )
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     STIPULATION AND [PROPOSED] ORDER REGARDING DECEMBER 2, 2022 PROTECTIVE ORDER
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 1          At the January 12, 2023 status conference, “the Court directed the parties to schedule

 2 adjudication of EPA’s assertion of privilege over the May 2022 draft of the NTP report and FWW’s

 3 entitlement to discovery into critiques of that draft.” See Dkt. No. 340, Order at 3. On January 17,

 4 2023, Plaintiffs served non-party National Institute for Environmental Health Sciences (“NIEHS”) with

 5 a subpoena requesting the production of agency comments, NTP’s responses thereto, and other

 6 documents related to NTP’s decision whether to publish the May 2022 prepublication fluoride

 7 monograph and the related meta-analysis. (NTP is an interagency program that is administratively

 8 headquartered at NIEHS.)

 9          On February 3, 2023, counsel for Plaintiffs and NIEHS met and conferred regarding the

10 subpoena. NIEHS notified Plaintiffs that NTP will be publicly posting to NTP’s website the materials

11 provided to the NTP Board of Scientific Counselors (“BSC”) working group that is evaluating the

12 comments on the monograph and the related meta-analysis, as well as NTP’s responses thereto. The

13 materials posted will include the May 2022 prepublication monograph and the related meta-analysis,

14 both of which are presently subject to the Court’s December 2, 2022 protective order (Dkt. No. 324).

15 The posting will also include, without attribution or complete date information, the agency comments

16 sought by the subpoena as well as NTP’s responses thereto. 1 NIEHS intends to post these materials on

17 or by March 15, 2023.

18          In light of these developments, NIEHS has notified Plaintiffs that it does not object to the lifting

19 of the December 2, 2022 protective order upon the earlier of March 15, 2023 or the posting of these

20 materials to NTP’s website. Further, NIEHS has agreed to produce to Plaintiffs a copy of the materials

21 provided to the BSC working group as soon as practicable on the condition that they are made subject to

22 the protective order until the protective order is lifted.

23          To that end, Plaintiffs, Defendants, and NIEHS stipulate to and jointly request an order providing

24 the following:

25              •   NIEHS’s document production in response to Plaintiffs’ January 17, 2023 subpoena shall
26                  be subject to the December 2, 2022 protective order.

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     1
       Plaintiffs and NIEHS continue to meet and confer regarding production of the name and date
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     information associated with the agency comments and NTP’s responses.
     STIPULATION AND [PROPOSED] ORDER REGARDING DECEMBER 2, 2022 PROTECTIVE ORDER
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 1            •   The December 2, 2022 protective order shall be lifted at the earlier of March 15, 2023 at
 2                5:00 p.m. Eastern Daylight Time or the posting of the materials provided to the BSC

 3                working group on NTP’s website.

 4         IT IS SO STIPULATED.

 5

 6 DATED: February 8, 2023                             Respectfully submitted,

 7                                                     WATERS, KRAUS & PAUL

 8                                                     /s/ Michael Connett
                                                       MICHAEL CONNETT
 9
                                                       C. ANDREW WATERS
10                                                     KAY GUNDERSON REEVES (pro hac vice)

11                                                     Attorneys for Plaintiffs

12
     DATED: February 8, 2023                           Respectfully submitted,
13
                                                       STEPHANIE M. HINDS
14                                                     United States Attorney
15
                                                       /s/ Emmet P. Ong*
16                                                     EMMET P. ONG
                                                       Assistant United States Attorney
17
                                                       BRANDON N. ADKINS
18                                                     PAUL A. CAINTIC
19                                                     Trial Attorneys
                                                       U.S. Department of Justice
20                                                     Environmental & Natural Resources Division

21                                                     Attorneys for Defendants U.S. Environmental
                                                       Protection Agency and Michael S. Regan, in his
22                                                     official capacity as Administrator of U.S.
23                                                     Environmental Protection Agency, and Non-Party
                                                       National Institute of Environmental Health Sciences
24
                                                       *In compliance with Civil Local Rule 5-1(h)(3), the
25                                                     filer of this document attests under penalty of
                                                       perjury that concurrence in the filing of the
26                                                     document has been obtained from the other
27                                                     Signatory.

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 1                                        [PROPOSED] ORDER

 2         Pursuant to stipulation of the parties, IT IS SO ORDERED.

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 4 DATED:__________________

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                                                           HON. EDWARD M. CHEN
 6                                                       United States Senior District Judge
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